Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 1 of 29 PageID #: 806




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                          TEXARKANA DIVISION

   PINEY WOODS ER III, LLC, et al.,   §
                                      §
              Plaintiffs,             §
                                      §
                  v.                  §
                                      §   Civil Action No. 5:20-cv-00041-RWS
BLUE CROSS BLUE SHIELD OF             §
TEXAS, A DIVISION OF HEALTH           §
CARE SERVICE CORPORATION, A           §
MUTUAL LEGAL RESERVE                  §
COMPANY,                              §
                                      §
              Defendant.              §




    DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED
       COMPLAINT AND MEMORANDUM IN SUPPORT THEREOF
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 2 of 29 PageID #: 807




                                                        TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1

BACKGROUND ............................................................................................................................ 3

STATEMENT OF ISSUES ............................................................................................................ 6

STANDARD OF REVIEW ............................................................................................................ 7

I.        PLAINTIFFS’ DECLARATORY JUDGMENT COUNT MUST BE
          DISMISSED FOR FAILURE TO STATE A CLAIM. ................................................. 7

          A.           Count V must be dismissed because the Texas Declaratory Relief Act
                       does not apply to actions in federal court. ...........................................................8

          B.           Count V fails to state a claim because the state or federal statutes
                       plaintiffs rely on grant no private right of action. ..............................................9

          C.           Plaintiffs fail to state a claim under Count V as to ERISA claims
                       because they lack standing. .................................................................................12

II.       PLAINTIFFS’ REMAINING CAUSES OF ACTION, ALL PREMISED ON
          THE SAME MISSTATEMENT OF THE REQUIREMENTS OF THE
          TEXAS INSURANCE CODE, TEXAS ADMINISTRATIVE CODE, OR
          THE AFFORDABLE CARE ACT, LIKEWISE FAIL. .............................................. 14

          A.           Sections 3.3708(a)of the Texas Administrative Code is invalid. ......................14

          B.           The “usual and customary rate” as used in the Texas Insurance Code
                       does not require payment based on provider charges. .....................................15

          C.           The Affordable Care Act’s “Greatest of Three” requirement does not
                       apply to Plaintiffs’ claims. ...................................................................................16

III.      PLAINTIFFS’ CLAIMS SHOULD BE DISMISSED, IN PART, AS
          BARRED BY STATUTES OF LIMITATIONS .......................................................... 19

IV.       PLAINTIFFS’ CLAIMS SHOULD BE DISMISSED FOR THE REASONS
          RAISED IN DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’
          ORIGINAL COMPLAINT ............................................................................................ 21

CONCLUSION ............................................................................................................................. 21




DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                                           Page i
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 3 of 29 PageID #: 808




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

                                                                 Cases

Air Evac EMS Inc. v. USAble Mut. Ins. Co.,
    No. 4:16-CV-266 BSM, 2018 WL 2422314 (E.D. Ark. May 29, 2018),
    aff’d 931 F.3d 647 (8th Cir. 2019) ...........................................................................................11

Angelina Emergency Med. Assoc. PA v. Health Care Serv. Corp.,
   3:18-CV-00425-X, 2020 WL 7259222 (N.D. Tex. Dec. 10, 2020) .........................................10

Apollo MedFlight, LLC v. BlueCross BlueShield of Tex.,
   No. 2:18-CV-0166-D-BR, 2019 WL 2539272 (N.D. Tex. Apr. 12, 2019) .............................11

Apollo MedFlight, LLC v. Bluecross Blueshield of Tex.,
   No. 2:18-CV-166-Z-BR, 2019 WL 4894263 (N.D. Tex. Oct. 4, 2019) ..................................10

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................7

Bardowell v. Mut. of Omaha Ins. Co.,
   985 F.2d 557 (5th Cir. 1993) ...............................................................................................3, 19

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...............................................................................................................6, 7

Brewer v. Lutron Elecs. Co., Inc.,
   795 F. App’x. 250 (5th Cir. 2019) .................................................................................3, 19, 20

Ears & Hearing, P.A. v. Blue Cross & Blue Shield of Tex.,
   No. 1:18-CV-00726-LY, 2019 WL 3557349 (W.D. Tex. Aug. 5, 2019) ..........................10, 11

Elite Ctr. for Minimally Invasive Surgery, LLC v. Health Care Serv. Corp.,
    221 F. Supp. 3d 853 (S.D. Tex. 2016) .....................................................................................13

Emergency Health Ctr. at Willowbrook, L.L.C. v. UnitedHealthcare of Tex., Inc.,
  892 F. Supp. 2d 847 (S.D. Tex. 2012) .....................................................................................18

Env’t Tex. Citizen Lobby, Inc. v. ExxonMobil Corp.,
   824 F.3d 507 (5th Cir. 2016) ...................................................................................................13

Flanary v. Mortg. Elec. Registration Sys., Inc.,
   No. 4:15CV208-AM-CMC, 2016 WL 3647983 (E.D. Tex. June 6, 2016) ...............................8

Lopez ex rel. Gutierrez v. Premium Auto Acceptance Corp.,
   389 F.3d 504 (5th Cir. 2004) ...............................................................................................3, 19


DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                                           Page ii
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 4 of 29 PageID #: 809




Guzman v. Jones,
   804 F.3d 707 (5th Cir. 2015) .....................................................................................................3

Harris Cty. Tex. v. MERSCORP Inc.,
   791 F.3d 545 (5th Cir. 2015) ...............................................................................................9, 11

Harris Methodist Fort Worth v. Sales Support Servs. Inc. Employee Health Care
   Plan, 426 F.3d 330 (5th Cir. 2005) ..........................................................................................12

Lehman-Menley v. Boston Old Colony Ins. Co.,
   A-05-CA-1054 LY, 2006 WL 2167258 (W.D. Tex. July 31, 2006) .......................................19

Mid-Town Surgical Ctr., L.L.P. v. Humana Health Plan of Tex., Inc.,
   16 F. Supp. 3d 767 (S.D. Tex. 2014) .......................................................................................13

In re N. Cypress Med. Ctr. Operating Co., Ltd.
    559 S.W.3d 128 (Tex. 2018)......................................................................................................3

Peacock v. AARP, Inc.,
   181 F. Supp. 3d 430 (S.D. Tex. 2016) .....................................................................................10

Pluet v. Frasier,
   355 F.3d 381 (5th Cir.2004) ....................................................................................................13

Pretz v. Hartford Life Ins. Co.,
   1-14-CV-92, 2014 WL 12618072 (E.D. Tex. Dec. 11, 2014) .................................................19

Ramming v. United States,
   281 F.3d 158 (5th Cir. 2001) .....................................................................................................7

Sid Richardson Carbon & Gasoline Co. v. Interenergy Res., Ltd.,
    99 F.3d 746 (5th Cir. 1996) .......................................................................................................9

Sims v. RoundPoint Mortg. Servicing Corp.,
   No. 6:16CV1349, 2018 WL 1308967 (E.D. Tex. Feb. 13, 2018),
   aff’d, 760 F. App’x 306 (5th Cir. 2019).....................................................................................9

Terry v. Health Care Serv. Corp.,
   344 F. Supp. 3d 1314 (W.D. Okla. 2018) ................................................................................11

Terry v. Safeco Ins. Co. of Am.,
   930 F. Supp. 2d 702 (S.D. Tex. 2013) .....................................................................................10

United Motorcoach Ass’n, Inc. v. City of Austin,
   851 F.3d 489 (5th Cir. 2017) ...................................................................................................16

Vera v. Bank of Am., N.A.,
   569 F. App’x 349 (5th Cir. 2014) ..............................................................................................8

DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                                        Page iii
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 5 of 29 PageID #: 810




                                                             Statutes/Rules

29 U.S.C. § 1132(a) .......................................................................................................................12

42 U.S.C. § 300gg–6(a) .................................................................................................................16

42 U.S.C. § 300gg–19a ..................................................................................................6, 16, 17, 18

42 U.S.C. § 18022 ....................................................................................................................16, 17

45 C.F.R. § 147.138 ...................................................................................................................6, 18

Fed. R. Civ. P. 8 ...........................................................................................................................1, 7

Fed. R. Civ. P. 12(b) ....................................................................................................................1, 7

Tex. Admin. Code § 3.3701 .....................................................................................................10, 11

Tex. Admin. Code § 3.3708 ...........................................................................................6, 10, 11, 14

Tex. Civ. Prac & Rem. Code § 37.003 ............................................................................................8

Tex. Civ. Prac & Rem. Code § 37.004 ............................................................................................8

Tex. Ins. Code § 1271.155 .........................................................................................................9, 10

Tex. Ins. Code § 1301.0053 ...........................................................................................................10

Tex. Ins. Code § 1301.155 ...............................................................................................................9

Tex. Ins. Code § 1301.156 ...............................................................................................................9

                                                                   Other

80 Fed. Reg. 72192-01, *72213 (Nov. 18, 2015) ..........................................................................17




DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                                                Page iv
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 6 of 29 PageID #: 811




          Defendant Blue Cross and Blue Shield of Texas, a division of Health Care Service

Corporation, a Mutual Legal Reserve Company, (“BCBSTX”), respectfully moves this Court to

dismiss Plaintiffs’ First Amended Complaint (“Amended Complaint”) (Dkt. 57) pursuant to

Federal Rules of Civil Procedure 8, 12(b)(1) and 12(b)(6).

                                 PRELIMINARY STATEMENT

          On November 30, 2020, Plaintiffs filed their Amended Complaint, adding twenty-five new

Plaintiffs to this suit and significantly increasing the magnitude of this case. The Plaintiffs now

encompass twenty companies that operate free-standing emergency medical care facilities (the

“FEC Plaintiffs”) and ten companies or associations that employed physicians that staff FECs (“the

Physician Group Plaintiffs”) (Am. Compl. ¶¶ 1–30). Plaintiffs collectively assert that BCBSTX

purposefully under-reimbursed Plaintiffs for their services provided to unidentified patients—who

ostensibly had coverage under BCBSTX insured or administered health plans—in a “concerted

effort” to drive Plaintiffs out of business. (See, e.g., id. ¶¶ 1–3).1 Plaintiffs allege that “both state

and federal law require health insurers like BCBSTX to pay the ‘usual and customary rate’ for

emergency services provided by out of network providers, such as free-standing emergency centers

and their associated physicians groups.” (Id. ¶ 2). Plaintiffs also allege that the “usual and

customary rate” refers to the amount the provider charges for its services.” (Id. ¶ 49).

          Plaintiffs bring five causes of action against BCBSTX in their Amended Complaint: breach

of ERISA payment obligations (Count I), breach of contract (Count II), bad faith insurance

practices, (Count III), negligent misrepresentation (Count IV), and declaratory judgment (Count

V). All Counts fail to state a claim and should be dismissed.


1
  Plaintiffs’ Amended Complaint contains two sets of paragraphs one through three. The
paragraphs cited here refer to the first set of paragraphs one through three, contained on the first
two pages of Plaintiffs’ Amended Complaint.

DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                           Page 1
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 7 of 29 PageID #: 812




          As to Count V, this Count fails for four independent reasons. First, Plaintiffs seek a

declaratory judgment under the Texas Civil Practices and Remedies Code, which is inapplicable

in federal court. This is reason alone for the Court to dismiss Count V. Second, even if the Court

were to ignore Plaintiffs’ stated basis for relief and construe Plaintiffs’ request for declaratory

judgment as brought under the federal Declaratory Judgment Act, the federal Declaratory

Judgment Act does not provide a substantive cause of action and there is no private right of action

under any of the Texas Insurance Code, the Texas Administrative Code, or the Affordable Care

Act (“ACA”) provisions at issue in Plaintiffs’ request for declaratory relief. Third, even if there

were a private right of action under these laws, Count V would still fail. The Texas Administrative

Code sections related to PPO claims brought by Plaintiffs have been declared invalid, and the

Texas Department of Insurance (“TDI”) has made clear that the “usual and customary rate” as that

term is used in connection with HMO and EPO plans is the insurer’s regular payment rate, not

whatever the provider unilaterally sets as its charges. Moreover, ACA’s “greatest of three”

requirement does not salvage Plaintiffs’ claim because it is inapplicable to Plaintiffs. Finally,

Plaintiffs lack standing to seek clarification to future benefits because they are not participants,

beneficiaries or assignees as to future health plans governed by ERISA that may provide coverage

for patients who have not yet visited a Plaintiff facility.

          Counts I–IV also fail because neither the Texas nor federal law relied upon by Plaintiffs

require payment of Plaintiffs’ full billed charges. The face of the complaint admits that two years

of claims allegedly in dispute under Counts I–IV must also be dismissed in part because those

counts go beyond the applicable statute of limitations. Plaintiffs purport to bring claims “for the

six-year period preceding the filing of this complaint.” (Am. Comp. ¶ 95). But Counts I-IV are

subject to either two- or four-year statutes of limitations. Lopez ex rel. Gutierrez v. Premium Auto



DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                       Page 2
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 8 of 29 PageID #: 813




Acceptance Corp., 389 F.3d 504, 509 (5th Cir. 2004) (citing Hogan v. Kraft Foods, 969 F.2d 142,

145 (5th Cir. 1992)) (discussing breach of contract and ERISA claims); Brewer v. Lutron Elecs.

Co., Inc., 795 F. App’x. 250, 252–53 (5th Cir. 2019); Bardowell v. Mut. of Omaha Ins. Co., 985

F.2d 557 (5th Cir. 1993). Therefore, any claims based on facts before these time periods are barred

as a matter of law.

          Finally, BCBSTX herein incorporates by reference its 12(b)(1) standing arguments and

12(b)(6) arguments related to Plaintiffs’ ERISA, breach of contract, bad faith, negligent

misrepresentation and declaratory judgment claims put forth in BCBSTX’s Motion to Dismiss

Plaintiffs’ Original Complaint (Dkt. 14) and Reply (Dkt. 24). Thus, for all the reasons stated

above, BCBSTX respectfully requests the Court grant its Motion and dismiss Plaintiffs’ claims

with prejudice.

                                          BACKGROUND

          Even if Plaintiffs may enjoy wide discretion with respect to setting their charges, insurers

in Texas are not required to use those prices as the measure of reimbursement for their services.

Indeed, Texas courts have repeatedly noted that provider charges and rates of reimbursement are

not synonymous, particularly for out-of-network providers tempted to charge highly inflated “list

prices” for their services. Guzman v. Jones, 804 F.3d 707, 711 (5th Cir. 2015) (explaining that

providers “set their full charges as high as possible” while understanding the reimbursement rates

will not cover those full charges) (quoting Haygood v. De Escabedo, 356 S.W.3d 390, 393–94

(Tex. 2011)); see also In re N. Cypress Med. Ctr. Operating Co., Ltd. 559 S.W.3d 128, 132–33

(Tex. 2018) (noting that provider charges are “frequently uncollected,” “arbitrary” and do not

indicate reasonable pricing).




DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                         Page 3
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 9 of 29 PageID #: 814




          Despite this industry-wide understanding regarding the relationship between inflated out-

of-network list prices (i.e. provider charges) and reimbursement under commercial health plans,

Plaintiffs’ Amended Complaint grounds all of its causes of action on the false premise that Texas

and federal law require BCBSTX to reimburse Plaintiffs at a “usual and customary rate,” that they

assert equals their billed charges. (See generally, Am. Compl. ¶ 49 (“under Texas law, the ‘usual

and customary rate’ refers to the amount the provider charges for its services”); ¶ 62 (Plaintiffs’

charges are equal to the “usual and customary” rate); ¶ 70 (complaining that BCBSTX did not pay

their “billed charges”); see also Pls. Resp. to Mot to Dismiss Original Compl. (Dkt. 18) at 5

(explaining that BCBSTX must reimburse Plaintiffs at the “usual and customary rate”)).2

Accordingly, Plaintiffs ask this Court to grant a declaratory judgment that the Texas Insurance

Code and Texas Administrative Code require BCBSTX “to reimburse Plaintiffs and the Class at a

usual and customary rate.” (Am. Compl. ¶¶ 35, 134).

          Plaintiffs’ claims for breach of ERISA obligations, breach of contract, bad faith insurance

practices, and negligent misrepresentation likewise turn on the same mischaracterization of law.

Plaintiffs allege that BCBSTX violated its ERISA payment obligations and breached the

purportedly applicable (but unidentified) BCBSTX insurance contracts by failing to pay the “usual

and customary rate” as supposedly “defined by Texas law or as prescribed under applicable law




2
  Plaintiffs—at least the five who have made additional disclosures in accordance with the Court’s
Discovery Order (Dkt. 45)—have carried this theme forward in their mandatory disclosure of
damages computations, asserting that they were entitled to reimbursement—on every claim at
issue—at their unilaterally set charges and that their damages are measured simply as any unpaid
portion of those billed charges.

DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                        Page 4
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 10 of 29 PageID #: 815




and regulations.” (Am. Compl. ¶¶ 55, 108–09, 117–19).3 Plaintiffs’ bad faith and negligent

misrepresentation claims are similarly grounded on the same supposed law and regulations.4

          Plaintiffs’ claims fail because they all turn on incorrect statements of Texas and federal

law. First, Plaintiffs rely heavily on Section 3.3708 of the Texas Administrative Code as a basis

to allege both that Texas insured PPO plans must pay claims at a “usual and customary rate” and

that the rate is based on providers’ “charges.” But shortly after the Court ruled on BCBSTX’s

motion to dismiss the original complaint, Section 3.3708 of the Texas Administrative Code was

declared invalid, and it cannot form the basis of any cause of action in this case. Second, the Texas

Department of Insurance has explained—contrary to Plaintiffs’ assertions in this case—that the

term “usual and customary rate” means the insurer’s regular rate, and not the amount charged by

the provider. Finally, with regard to any ERISA plans to which the ACA applies, the ACA’s

“greatest of three” regulation that forms the basis of Plaintiffs’ claims does not apply to services

at a freestanding emergency room. Instead, the “greatest of three” regulation applies only to



3
  To the extent Plaintiffs claim that BCBSTX was also required to reimburse Plaintiffs at the “usual
and customary rate” because of the language in the purported “exemplar” insurance policy
provisions, this is no different than Plaintiffs’ reliance on Texas and federal law. (See Am. Compl.
¶¶ 108, 119, 122). According to Plaintiffs’ allegations, the purported requirement under the
exemplar plans that BCBSTX reimburse Plaintiffs at the “usual and customary rate” is tied to the
Texas Insurance Code, Texas Administrative Code or the Affordable Care Act. (See Am. Compl.
¶ 55 “The BCBS PPO Plans require reimbursement . . . of the Allowable Amount. . . . The
Allowable Amount for emergency care is set at ‘the usual or customary amount as defined by
Texas law or as prescribed under applicable law or regulations.’”). The “Texas law” and
“applicable law or regulations” discussed in Plaintiffs’ Amended Complaint are the Texas
Insurance Code, Texas Administrative Code and the Affordable Care Act. (See id. ¶¶ 46–52, 57).
4
  For example, Plaintiffs’ bad faith insurance practices count incorporates the same allegations that
BCBSTX is supposedly required by state and federal law to reimburse all claims at the “usual and
customary rate” and that BCBSTX acted in bad faith by not making “full payment” of Plaintiffs’
billed charges. (See Am. Compl. ¶¶ 121, 123). Plaintiffs’ claim for negligent misrepresentation
is similarly premised on BCBSTX’s purported misrepresentations to justify payment at less than
Plaintiffs’ full-billed charges. (See Am. Compl. ¶ 126 (alleging that BCBSTX misrepresentations
consist of reasons for “not providing full reimbursements”)).

DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                        Page 5
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 11 of 29 PageID #: 816




services provided in the emergency department of a hospital. 42 U.S.C. § 300gg–19a(b)(2)(B)

(emphasis added). Moreover, even if the ACA applied to services provided in a FEC, the ACA

does not require health plans to reimburse emergency services at more than the greatest of (i) 100%

of what Medicare would pay, (ii) whatever the health plan’s standard out-of-network

reimbursement would be, or (iii) what the median payment to an in-network provider for the same

services would be. 45 C.F.R. § 147.138(b)(3)(i)(B). Plaintiffs baldly state that BCBSTX violated

federal law by not paying Plaintiffs’ billed charges, but Plaintiffs do not, and cannot, plead that

their billed charges were equal to any of those metrics. Instead, without any cited support,

Plaintiffs read into the “greatest of three” regulation a requirement to pay “usual and customary

rates,” though no such requirement exists.

          Once the Court dispatches with Plaintiffs’ predicate misstatements of law, Plaintiffs’

Amended Complaint is left without any well-pleaded allegations sufficient to state a plausible clam

under Twombly that BCBSTX improperly reimbursed any—let alone all—of Plaintiffs’ claims

during the past four years. Thus, all of Plaintiffs’ causes of action should be dismissed.

                                    STATEMENT OF ISSUES

     1. Do Plaintiffs fail to state a claim for declaratory judgment because the Texas Civil Practices
        and Remedies Code does not apply to actions brought in federal court?

     2. Do Plaintiffs fail to state claims for declaratory judgment because the Texas Insurance
        Code, the Texas Administrative Code, and the Affordable Care Act do not create a private
        right of action?

     3. Do Plaintiffs fail to state a claim for declaratory judgment as to the ERISA-funded claims
        because they lack standing to seek a declaratory judgment for services they have not yet
        rendered?

     4. Do Plaintiffs fail to state a claim for Counts I–V as to BCBSTX insured health plans
        because Section 3.3708 of the Texas Administrative Code has been declared invalid?

     5. Do Plaintiffs fail to state a claim for Counts I–V as to BCBSTX insured health plans
        because the usual and customary rate has been interpreted by the TDI as the amount paid
        by the insurer?

DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                         Page 6
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 12 of 29 PageID #: 817




     6. Do Plaintiffs fail to state a claim for Counts I, III–V as to ERISA-funded claims because
        the Affordable Care Act’s “greatest of three” rule is not applicable to Plaintiffs?

     7. Do Plaintiffs fail to state a claim as to at least parts of Counts I–IV because those claims
        are barred by the applicable statute of limitations?

                                    STANDARD OF REVIEW

          Under Federal Rule of Civil Procedure 12(b)(1), a court must dismiss a claim if the Court

lacks subject-matter jurisdiction. “When a Rule 12(b)(1) motion is filed in conjunction with other

Rule 12 motions, the court should consider the jurisdictional attack before addressing any attack

on the merits.” See Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001).

          To survive a Rule 12(b)(6) motion, Plaintiffs’ factual allegations must be sufficient to

“state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007). Mere legal conclusions or “formulaic recitation of the elements of a cause of action will

not do.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Rather, the complaint must contain “factual

content [that] allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged,” id. at 678 (emphasis added), citing Twombly, 550 U.S. at 556, and to give

the defendant fair notice of the plaintiff’s claims and the grounds upon which they rest. Fed. R.

Civ. P. 8(a). Failure to satisfy this standard is grounds for dismissal.

                                               ARGUMENT

I.        PLAINTIFFS’ DECLARATORY JUDGMENT COUNT MUST BE DISMISSED
          FOR FAILURE TO STATE A CLAIM.

          Plaintiffs ask the Court to declare that: “The Texas Insurance Code and Texas

Administrative Code require Defendant to reimburse Plaintiffs and the Class at a usual and

customary rate.” (Am. Compl., Prayer for Relief, at ¶ 5) and that the “usual and customary rate”

must be based on their charges. (Am. Compl. ¶ 134). And while the declaratory relief that they

seek does not encompass federal law, in Count V Plaintiffs inappositely assert that “BCBS has


DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                         Page 7
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 13 of 29 PageID #: 818




also violated the ACA’s greater-of-three requirement . . . .” (Am. Compl. ¶ 137). Regardless of

how broadly the Court construes Plaintiffs’ request for declaratory judgment—whether limited to

the requirements of the Texas Insurance Code, or also seeking judicial pronouncements of the

reach of the ACA—Count V fails to state a claim.

          As discussed infra, every cause of action in the Amended Complaint should be dismissed

because the Texas statutes and federal law upon which Plaintiffs base their claims do not require

reimbursement at the “usual or customary rate” in the manner Plaintiffs allege. Plaintiffs’

declaratory judgment claim should be dismissed for three additional, independent reasons: the

Texas Declaratory Relief Act does not apply to actions in federal court, the Texas and federal law

on which Plaintiffs rely (even if the law did require reimbursement as Plaintiffs claim) provides

no private right of action, and Plaintiffs lack standing to a declaration as to future ERISA benefits.

          A.           Count V must be dismissed because the Texas Declaratory Relief Act does
                       not apply to actions in federal court.

          Plaintiffs seek a declaratory judgment “pursuant to TEX. CIV. PRAC & REM. CODE §§

37.003 & 37.004,” (Am. Compl. at 35), which is the Texas Declaratory Judgments Act (“TDJA”).

However, the Texas Declaratory Judgments Act is procedural and therefore does not apply to

actions in federal court. See, e.g., Flanary v. Mortg. Elec. Registration Sys., Inc., No. 4:15CV208-

AM-CMC, 2016 WL 3647983, at *7 (E.D. Tex. June 6, 2016).

          The Fifth Circuit has held that a plaintiff fails to state a claim for declaratory relief in

federal court when the claim is brought under the Texas Declaratory Judgments Act. Vera v. Bank

of Am., N.A., 569 F. App’x 349, 352 (5th Cir. 2014) (holding “Plaintiffs [could not] maintain their

declaratory judgment action against Defendants” because the “TDJA is a procedural, and not a

substantive provision and therefore does not apply to actions in federal court”). Under controlling

Fifth Circuit authority, the Court must therefore dismiss Count V.


DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                         Page 8
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 14 of 29 PageID #: 819




          B.           Count V fails to state a claim because the state or federal statutes plaintiffs
                       rely on grant no private right of action.

          Even if the Court were to construe Plaintiffs’ claim as seeking relief under the federal

Declaratory Judgment Act, Plaintiffs would still fail to state a claim because there are no private

rights of action for the Texas Insurance Code, the Texas Administrative Code, or Affordable Care

Act provisions that Plaintiffs rely on as the bases of their claim. The federal Declaratory Judgment

Act is remedial only and “does not create any substantive rights or causes of action.” Sims v.

RoundPoint Mortg. Servicing Corp., No. 6:16CV1349, 2018 WL 1308967, at *10 (E.D. Tex. Feb.

13, 2018), aff'd, 760 F. App’x 306 (5th Cir. 2019); see also Sid Richardson Carbon & Gasoline

Co. v. Interenergy Res., Ltd., 99 F.3d 746, 752 n.3 (5th Cir. 1996) (construing the request for

declaratory judgment “as a theory of recovery predicated upon the cause of action for breach of

contract”). As a result, Plaintiffs are foreclosed from seeking declaratory relief under statutes that

do not grant private rights of action. See Harris Cty. Tex. v. MERSCORP Inc., 791 F.3d 545, 552–

53 (5th Cir. 2015) (holding district court properly dismissed declaratory judgment claim seeking

relief under Texas Local Government Code section 192.007 because “the Texas Legislature did

not create a private right of action to enforce section 192.007”). Plaintiffs cannot use a declaratory

judgment claim to circumvent the fact that they cannot bring direct claims under the Texas

Insurance Code, the Texas Administrative Code, or the Affordable Care Act.

                       1.     There are no private rights of action under sections 1301.155, 1301.156,
                              or 1271.155 of the Texas Insurance Code.

          Plaintiffs rely on three sections of the Texas Insurance Code: Sections 1301.155, 1301.156

and 1271.155. (Am. Compl. ¶¶ 134–35). The Supreme Court of Texas “has made it abundantly

clear that Texas statutes create a private right of action ‘only when a legislative intent to do so

appears in the statute as written.’” Angelina Emergency Med. Assoc. PA v. Health Care Serv.



DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                            Page 9
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 15 of 29 PageID #: 820




Corp., 3:18-CV-00425-X, 2020 WL 7259222, at *6 (N.D. Tex. Dec. 10, 2020) (quoting Brown v.

De La Cruz, 156 S.W.3d 560, 567 (Tex. 2004)); see Apollo MedFlight, LLC v. Bluecross

Blueshield of Tex., No. 2:18-CV-166-Z-BR, 2019 WL 4894263, at *1 (N.D. Tex. Oct. 4, 2019).

“The Texas Insurance Code is a comprehensive set of laws, divided in 21 Titles with multiple

chapters and subchapters in each Title. Very few of its sections explicitly provide for a private

right of action.” Peacock v. AARP, Inc., 181 F. Supp. 3d 430, 436 (S.D. Tex. 2016) (emphasis

added). None of the sections of the Texas Insurance Code referenced in the Amended Complaint

provide for such a right.

          Courts in this Circuit routinely hold that no private right of action exists for the Texas

Insurance Code provisions that Plaintiffs seek to enforce here. See Angelina, 2020 WL 7259222,

at *6 (finding TEX. INS. CODE §§ 1301.0053(a) and 1271.155(a) did not give rise to a private

right of action); Apollo MedFlight, 2019 WL 4894263, at *1 (holding there is no private right of

under sections 1301.155 and 1271.155 of the Texas Insurance Code); Ears & Hearing, P.A. v.

Blue Cross & Blue Shield of Tex., No. 1:18-CV-00726-LY, 2019 WL 3557349, at *8 (W.D. Tex.

Aug. 5, 2019) (holding Section 1301.056 could only be enforced through Subchapter A, Chapter

542 and “§ 542.003 makes it unlawful to engage in ‘unfair claim settlement practices’ but makes

no reference to a private enforcement right.”); Terry v. Safeco Ins. Co. of Am., 930 F. Supp. 2d

702, 714 (S.D. Tex. 2013) (holding no private right of action under § 542.003(b), also known as

the Texas Unfair Settlement Practices Act).




DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                       Page 10
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 16 of 29 PageID #: 821




                       2.   There was no private right of action under Texas Administrative Code
                            Section 3.3708 even before it was declared invalid.

          Plaintiffs also request declaratory relief based on the PPO provisions of the Texas

Administrative Code. While the regulation upon which they relied has since been declared

invalid,5 it was never firm footing for a declaratory judgment action because the regulations

expressly state that “these sections do not provide a private cause of action for damages . . . or

provide a basis for a private cause of action.” Tex. Admin. Code § 3.3701(d). “Section 3.3701

defines the ‘Applicability and Scope’ of Chapter 3, Subchapter X of the Texas Administrative

Code, which includes section . . . 3.3708.” Ears & Hearing, 2019 WL 3557349, at *8 (dismissing

claims under Texas Administrative Code because there is no private right of action). Thus, because

Plaintiffs cannot bring a declaratory judgment claim to enforce rights under sections of a statute

that do not create a private right of action, see MERSCORP Inc., 791 F.3d at 552–53, Plaintiffs’

request for declaratory judgment as to the Texas Administrative Code fails.

                       3.   There is no private right of action to enforce the Affordable Care Act’s
                            “greatest of three” requirement.

          Similarly, the Affordable Care Act did not create a private right of action to enforce its

provisions. See Apollo MedFlight, LLC v. BlueCross BlueShield of Tex., No. 2:18-CV-0166-D-

BR, 2019 WL 2539272, at *8 (N.D. Tex. Apr. 12, 2019) (finding the Affordable Care Act does

not create an express or implied private right of action); Terry v. Health Care Serv. Corp., 344 F.

Supp. 3d 1314, 1324 (W.D. Okla. 2018) (granting motion to dismiss declaratory judgment that

plaintiff’s policy is non-compliant with the Affordable Care Act because “the Declaratory



5
  Further, as discussed in Section II A, the provision of the Texas Administrative Code that
Plaintiffs rely on in the Amended Complaint has been declared invalid. Thus, Plaintiffs’
declaratory judgment claim under the Texas Administrative Code fails regardless of whether the
Code provides a private right of action.


DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                           Page 11
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 17 of 29 PageID #: 822




Judgment Act does not create a private right to relief and Plaintiffs have failed to state a claim for

relief”); Air Evac EMS Inc. v. USAble Mut. Ins. Co., No. 4:16-CV-266 BSM, 2018 WL 2422314,

at *3 (E.D. Ark. May 29, 2018) (holding that the Affordable Care Act does not create a private

cause of action), aff’d 931 F.3d 647 (8th Cir. 2019). The Court should therefore dismiss Count V,

Plaintiffs’ request for declaratory judgment, since there are no private rights of action under the

ACA regulation Plaintiffs are seeking to enforce.6

          C.           Plaintiffs fail to state a claim under Count V as to ERISA health plans
                       because they lack standing.

          As noted earlier, although not included in the prayer for relief, Plaintiffs appear to seek

declaratory relief as to purported ERISA-governed claims based on the requirements of the ACA.

(See Am. Compl. ¶ 137 (alleging that the ACA’s supposed “greatest of three” requirement is

enforceable under a claim for ERISA benefits)).

          As an initial matter, healthcare providers like Plaintiffs lack independent standing to seek

relief under ERISA. See 29 U.S.C. § 1132(a) (providing an enumerated list of those who may

bring “a civil action”); Harris Methodist Fort Worth v. Sales Support Servs. Inc. Employee Health

Care Plan, 426 F.3d 330, 333–34 (5th Cir. 2005) (noting that a healthcare provider is “not a

statutorily designated ERISA beneficiary”).            Because they lack independent standing, the

declaratory judgment claim must be dismissed to the extent brought in Plaintiffs’ own right. See

Harris Methodist Fort Worth, 426 F.3d at 333–34 (“[A] healthcare provider . . . may obtain

standing to sue derivatively to enforce an ERISA plan beneficiary’s claim.”).




6
  Further, as discussed in Section II C, the ACA “greatest of three” regulation does not apply to
Plaintiffs. Thus, Plaintiffs’ claim under ACA fails regardless of whether the Act provides a private
right of action.

DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                            Page 12
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 18 of 29 PageID #: 823




          Nor do Plaintiffs’ alleged receipt of valid assignments of benefits from patients for past

services on past claims for reimbursement under such plans avoid dismissal of the declaratory

judgment claim; the claim is still either redundant of Counts I and II or seeks relief well beyond

the alleged scope of the patient’s assignments.

          On one hand, if the claim concerns BCBSTX’s alleged prior conduct of underpaying

Plaintiffs for some unspecified universe of claims, these issues will be resolved as part of other

claims in the lawsuit, either on the pleadings or on the merits. A separate declaratory judgment

action would therefore be redundant. (See Am. Compl. ¶ 138 (“Plaintiffs and the Class seeks a

declaratory judgment from this Court determining its rights to reimbursement for services rendered

to BCBS’ insured at the usual and customary rate . . . .”)); see Env’t Tex. Citizen Lobby, Inc. v.

ExxonMobil Corp., 824 F.3d 507, 523 (5th Cir. 2016) (holding a declaratory judgment claim

redundant of breach of other claims in the suit has no “useful purpose”).

          On the other, to the extent that Plaintiffs are attempting to use the declaratory judgment

count to seek a declaration with respect to future ERISA rights, Plaintiffs do not allege that they

have assignments that permit them to seek that relief. See Mid-Town Surgical Ctr., L.L.P. v.

Humana Health Plan of Tex., Inc., 16 F. Supp. 3d 767, 776 (S.D. Tex. 2014) (holding plaintiffs

did not have standing to bring ERISA claims when the assignments were signed after plaintiffs

filed the lawsuit); see also Elite Ctr. for Minimally Invasive Surgery, LLC v. Health Care Serv.

Corp., 221 F. Supp. 3d 853, 860 (S.D. Tex. 2016) (holding the assignment at issue did not assign

the right to obtain plan documents and noting that “[i]ndeed it would be quite odd for plan

participants to assign away all their rights to obtain current plan documents, in perpetuity, to a

single medical provider rendering medical services on a single occasion”). A plaintiff must have

standing at the time a complaint is filed to properly sue. Id; see Pluet v. Frasier, 355 F.3d 381,



DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                       Page 13
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 19 of 29 PageID #: 824




385–86 (5th Cir. 2004). Here, Plaintiffs could not have had standing at the time they filed their

Complaint (original or amended) to sue based on assignments they have not yet procured from

patients who may, at some point in the future, seek treatment from Plaintiffs.

          Accordingly, the Court should dismiss Plaintiffs’ request for declaratory judgment as to

any declarations pertaining to ERISA-governed health plans under the ACA (to the extent

Plaintiffs seek such a declaration).

II.       PLAINTIFFS’ REMAINING CAUSES OF ACTION, ALL PREMISED ON THE
          SAME MISSTATEMENT OF THE REQUIREMENTS OF THE TEXAS
          INSURANCE CODE, TEXAS ADMINISTRATIVE CODE, OR THE
          AFFORDABLE CARE ACT, LIKEWISE FAIL.

          As explained above, all of Plaintiffs’ causes of action are based on the same foundational

assertions about the supposed universal requirements of Texas and federal law that BCBSTX must

reimburse Plaintiffs at a “usual and customary rate” which they contend is equivalent to their

unilaterally set billed charges. Plaintiffs misstate the law. Neither the Texas Insurance Code nor

the Texas Administrative Code requires BCBSTX to reimburse Plaintiffs at their full-billed

charges. Further, the Affordable Care Act “greatest of three” regulation does not even apply to

Plaintiffs’ services. Plaintiffs have chosen to anchor their claims to these provisions of Texas and

federal law, and because Plaintiffs have mischaracterized the requirements of these statutes in their

Amended Complaint, Plaintiffs claims must be dismissed.

          A.           Section 3.3708(a) of the Texas Administrative Code is invalid.

          In the Amended Complaint, Plaintiffs base their claims as to all PPO plans on Section

3.3708(b)(1) of the Texas Administrative Code that purportedly “requires BCBSTX to pay FECs

providing emergency care the usual and customary rate less any patient coinsurance, copayment,

or deductible responsibility under the plan.”           (See Am. Compl.¶¶ 55, 108, 117, 123,134).

However, just two months ago a court invalidated Section 3.3708(a)—which makes the


DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                        Page 14
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 20 of 29 PageID #: 825




requirements of 3.3708(b) and (c) applicable to PPO plans—because it was ultra vires. Tex. Ass’n

of Health Plans v. Tex. Dep’t of Ins., Cause No. D-1-GN,18-003846 (419th Judicial District, Travis

County, Oct. 15, 2020), attached hereto and incorporated herein as Exhibit A. The Texas

Department of Insurance and Attorney General elected not to appeal that determination and

therefore Section 3.3708 is a nullity. As a result, Section 3.3708 does not apply to Texas insured

health plans and cannot support Plaintiffs’ claims under Counts I–V.

          B.           The “usual and customary rate” as used in the Texas Insurance Code does not
                       require payment based on provider charges.

          In addition, Plaintiffs’ whole complaint hinges on the further assertion that “usual and

customary rate” means, under Texas law, that reimbursement must be based on the Plaintiffs’

billed charges. Plaintiffs do not point to any authority for that proposition—because there is none.

Both the statutorily designated regulatory authority—the TDI—and the state’s chief law

enforcement official—the Attorney General—have recognized as much.                   Indeed, in recent

litigation filed by the Texas Association of Health Plans challenging TDI’s authority to promulgate

some of the regulations at issue here, TDI and the Attorney General explained to the court that the

“usual and customary rate” is the amount set by the insurer, not an amount based on provider

charges as Plaintiffs argue here. See Defendant’s Response in Opp. to Plaintiffs’ Amended

Traditional Motion for Summary Judgment at 24, Tex. Ass’n of Health Plans v. Tex. Dep’t of Ins.,

Cause No. D-1-GN,18-003846 (419th Judicial District, Travis County, Oct. 15, 2020), attached

hereto and incorporated herein as Exhibit B (“TDI Br.”).

          On August 14, 2020, in its Response in Opposition to Plaintiff’s Amended Traditional

Motion for Summary Judgment, TDI specifically stated that the plans “have always been allowed

to . . . make their initial payment at the usual and customary ‘rate,’ which is set at their discretion.”

See id. (emphasis added). TDI explained that “[b]ecause no payment methodology is attached to


DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                           Page 15
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 21 of 29 PageID #: 826




the term ‘usual and customary rate,’ EPOs and HMOs have been permitted to set their payment

amounts at their discretion . . . .” Id. at 22. TDI further stated that “[a]lthough it is true that the

insured is not liable, it does not follow that an insurer must pay all of the amount billed beyond the

insurer’s initial responsibility.” Id. at 21.

          Of course, Plaintiffs point to no definition of “usual and customary rate” that supports their

interpretation—an interpretation that is contrary to the way in which TDI and the Texas Attorney

General have construed those terms. Indeed, while the legislature did not define the term “usual

and customary rate” in the HMO and PPO provisions of the Insurance Code, the legislature has

defined the term elsewhere in the Code—and the definition also contradicts Plaintiffs’

interpretation. See Tex. Ins. Code. §§ 1551.003(15), 1575.002(8), 1579.002(8) (defining “usual

and customary rate” as “the relevant allowable amount as described in the applicable master benefit

plan document or policy”). Thus, the Texas Insurance Code defines the “usual and customary

rate” as whatever amount the plan has decided to set as the “allowable amount” and not based on

provider charges or third-party benchmarks. See United Motorcoach Ass’n, Inc. v. City of Austin,

851 F.3d 489, 494 (5th Cir. 2017) (holding when identical language is used in different parts of a

statute, the language is generally interpreted to have the same meaning).

          C.           The Affordable Care Act’s “Greatest of Three” requirement does not apply to
                       Plaintiffs’ claims.

          Further, Plaintiffs’ causes of action grounded in ACA’s “greatest of three” requirement

also fail to state a claim for relief. (Am. Compl. ¶¶ 110, 123, 137).

          Plaintiffs’ Amended Complaint makes clear that they are neither hospitals nor the

emergency department of a hospital and is emphatic in distinguishing hospital emergency

departments (with whom Plaintiffs compete) with freestanding emergency medical care facilities.

(Am. Compl. ¶ 36 (Plaintiffs licensed under the Texas Freestanding Emergency Care Facility


DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                           Page 16
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 22 of 29 PageID #: 827




Licensing Act and not as hospitals) (“these independently licensed FECs differ from traditional

hospital-based emergency rooms in several important respects”); ¶ 38 (“FECs . . .               are

unencumbered by the typical administrative bureaucracy and other challenges burdening hospital-

based emergency departments”); ¶ 41 (“Unlike emergency departments attached to hospitals,

FECs . . . [.]”). But, it is clear from the plain language of the ACA that “emergency services” do

not include services that are provided in freestanding emergency medical care facilities. Indeed,

the very ACA provisions cited by Plaintiffs make clear that the ACA’s “emergency services”

requirements—including the greatest of three formula— apply only to services provided in the

emergency department of a hospital. 42 U.S.C. § 300gg–19a(b)(2)(B). The ACA mandates that

“[a] health insurance issuer that offers health insurance coverage in the individual or small group

market shall ensure that such coverage includes the essential benefits package required under

section 18022(a) of this title.” 42 U.S.C. § 300gg–6(a). One of the essential benefits is “emergency

services.” 42 U.S.C. § 18022(b)(1)(B). But the ACA limits the scope of “emergency services” to

treatments provided by a hospital emergency department:

                               The term “emergency services” means, with respect to an
                       emergency medical condition—
                               (i) a medical screening examination (as required under
                       section 1395dd of this title) that is within the capability of the
                       emergency department of a hospital, including ancillary services
                       routinely available to the emergency department to evaluate such
                       emergency medical condition, and
                               (ii) within the capabilities of the staff and facilities
                       available at the hospital, such further medical examination and
                       treatment as are required under section 1395dd of this title to
                       stabilize the patient.

42 U.S.C. § 300gg–19a(b)(2)(B) (emphasis added).

          The ACA’s “essential health benefits” provision — a provision upon which Plaintiffs rely

(see Am. Compl. ¶ 51) — also plainly states that “emergency services” are those provided by a



DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                       Page 17
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 23 of 29 PageID #: 828




hospital emergency department. 42 U.S.C. § 18022(b)(4)(E) (“(i) coverage for emergency

department services will be provided without imposing . . . any limitation on coverage where the

provider of services does not have a contractual relationship with the Policy for the providing of

services that is more restrictive than the requirements or limitations that apply to emergency

department services received from providers who do have such a contractual relationship with the

plan.”) (emphasis added). The ACA’s limitation of “emergency services” to hospital emergency

departments is further bolstered by the fact the ACA defined “emergency services” using the

definition in the Emergency Medical Treatment and Labor Act (“EMTALA”). See Final Rules for

Grandfathered Plans, Preexisting Condition Exclusions, Lifetime and Annual Limits, Rescissions,

Dependent Coverage, Appeals, and Patient Protections Under the Affordable Care Act, 80 Fed.

Reg. 72192-01, *72213 (Nov. 18, 2015) (“In applying the rules relating to emergency services,

the terms emergency medical condition, emergency services, and stabilize have the meaning given

to those terms under [EMTALA].”). EMTALA does not apply to FECs and explicitly requires

only emergency departments within hospitals to provide emergency services. 42 U.S.C. § 300gg-

19a(b)(1) (“[P]rovides or covers any benefits with respect to services in an emergency department

of a hospital . . . .”) (emphasis added). As a matter of law, FECs are not hospitals as that term is

defined in EMTALA. See Emergency Health Ctr. at Willowbrook, L.L.C. v. UnitedHealthcare of

Tex., Inc., 892 F. Supp. 2d 847, 852 (S.D. Tex. 2012); see also 42 U.S.C. § 1395x(e)(7).

          Further, the ACA provides no assistance to Plaintiffs because, even assuming arguendo

the ACA’s definition of “emergency services” was broad enough to encompass FECs (which it is

not), the ACA does not require insurers to reimburse out-of-network emergency services at 100%

of provider-billed charges. Specifically, the ACA does not require health plans to reimburse

emergency services at more than the greatest of (i) 100% of what Medicare would pay, (ii)



DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                       Page 18
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 24 of 29 PageID #: 829




whatever the health plan’s standard out-of-network reimbursement would be, or (iii) what the

median payment to an in-network provider for the same services would be. 45 C.F.R. §

147.138(b)(3)(i)(B).7          Plaintiffs do not plead that their prices were equal to any of those metrics.

Therefore their claims fail.

                                                     *      *       *

          In conclusion, each of Plaintiffs’ claims is based upon a misstatement of Texas law

regarding “usual and customary rates.” The laws upon which Plaintiffs attempt to base their

claims—the Texas Administrative Code, the Texas Insurance Code, and the Affordable Care

Act— have been invalidated or are misstated by Plaintiffs in their attempt to manufacture a cause

of action. Because none of the laws upon which Plaintiffs attempt to rely on actually require

payment in the amount that is charged by a provider, all of Plaintiffs’ claims must necessarily fail.


III.      PLAINTIFFS’ CLAIMS SHOULD BE DISMISSED, IN PART, AS BARRED BY
          STATUTES OF LIMITATIONS

          Plaintiffs contend this case involves every paid claim they submitted during the six-year

period preceding the filing of the complaint. (Am. Comp. ¶ 95). However, the limitations periods

on the causes of action are all far shorter than six years.

               •       Four years: Counts I & II (ERISA benefits and state law breach of contract
                       claims). See Lopez, 389 F.3d at 509 (concluding that a section 1132(a)(1)(B) suit
                       to enforce rights under an employee benefit plan is subject to Texas’s residual four-
                       year statute of limitations that governs contractual matters).

               •       Two years: Counts III & IV (bad faith and negligent misrepresentation claims).
                       See Brewer, 795 F. App’x. at 252–53 (negligent misrepresentation); Bardowell, 985
                       F.2d 557, 1993 WL 35709, at *5 (bad faith).




7
  No part of the “greatest of three” regulation mandates reimbursement of “emergency services”
claims at a “usual and customary rate,” let alone any rate based on a provider’s billed charges.

DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                               Page 19
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 25 of 29 PageID #: 830




          Although Plaintiffs fail to identify particular time periods for any of their claims, all of

their claims are grounded in BCBSTX’s determination of benefits and purported improper denial

of payment. (Am. Compl. ¶¶ 109, 113, 118–19, 123, 126). Thus, as to Counts I and II, any claims

based on BCBSTX’s purported claim denial or payment that occurred more than four years before

Plaintiffs filed this lawsuit are barred and should be dismissed with prejudice. See Lopez, 389 F.3d

at 509 (concluding ERISA claims were barred); Pretz v. Hartford Life Ins. Co., 1-14-CV-92, 2014

WL 12618072, at *2 (E.D. Tex. Dec. 11, 2014) (dismissing insurance breach of contract claim

based on statute of limitations). As to Counts III and IV, any claims based on BCBSTX’s

purported improper issuance of denial that occurred more than two years before the filing of this

lawsuit are barred and should be dismissed with prejudice. Lehman-Menley v. Boston Old Colony

Ins. Co., A-05-CA-1054 LY, 2006 WL 2167258, at *4 (W.D. Tex. July 31, 2006) (rejecting breach

of the duty of good faith and fair dealing claim based on statute of limitations); Brewer, 795 F.

App’x at 253 (affirming district’s court dismissal of negligent misrepresentation claims barred by

the statute of limitations). Plaintiffs filed the Original Complaint on March 19, 2020. Accordingly,

for the contract and ERISA claims, only those claims where benefits determinations were made

on or after March 19, 2016 should survive, for bad faith only those claims where benefits

determinations were made on or after March 19, 2018 would survive, and the pertinent time period

for the negligent misrepresentation would be for those claims in which BCBSTX communicated

its benefit determination on or after March 19, 2018. In dismissing the clearly time-barred claims

based on the face of the Amended Complaint, the Court will streamline this dispute and prevent

unnecessary discovery and litigation about claims that have expired.




DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                         Page 20
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 26 of 29 PageID #: 831




IV.       PLAINTIFFS’ CLAIMS SHOULD BE DISMISSED FOR THE REASONS
          RAISED IN DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ ORIGINAL
          COMPLAINT

          BCBSTX re-urges and incorporates by reference its 12(b)(1) standing arguments and

12(b)(6) arguments related to Plaintiffs’ ERISA, breach of contract, bad faith, negligent

misrepresentation and declaratory judgment claims put forth in BCBSTX’s Motion to Dismiss

Plaintiffs’ Original Complaint (Dkt. 14) and Reply (Dkt. 24). Specifically, BCBSTX argued that

the Court lacked subject matter jurisdiction over claims based on alleged assignments by

unidentified assignors, that the Complaint failed to state a claim under ERISA or breach of

contract because it did not identify plans or claims at issue, that the bad faith claim failed to state

a claim because there was no special relationship between Plaintiffs and BCBSTX, that the

negligent misrepresentation claim failed because Plaintiffs did not plead reliance on any alleged

misrepresentations, and that the declaratory action claim failed because Plaintiffs’ claim was

based on unidentified contracts, past conduct, and sought resolution of issues resolved in other

claims.

          Although BCBSTX recognizes the Court rejected those arguments in its October 2 Order

(Dkt. 38) regarding the Original Complaint, BCBSTX re-urges those arguments as to the

Amended Complaint and the twenty-five plaintiffs who were not parties at the time BCBSTX

filed its initial motion to dismiss. Moreover, the fact that Plaintiffs added twenty-five new

Plaintiffs to this lawsuit without adding or amending any substantive allegations in their

Complaint makes the sufficiency of Plaintiffs’ allegations regarding the exemplar plan language

and allegations regarding BCBSTX’s purported conduct as to the named Plaintiffs even less

plausible on their face. In arguing that they complied with the requirements of Innova with

regard to the Original Complaint, Plaintiffs relied heavily on the assertion that they purportedly



DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                          Page 21
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 27 of 29 PageID #: 832




identified a handful of specific claims that they submitted and that were allegedly underpaid and

therefore a complete claims list was not necessary. See Pls. Resp. to Mot to Dismiss Original

Compl. (Dkt. 18) at 11–14. Defendant disagrees, but if true then Plaintiffs failure to add even a

single additional purportedly underpaid claim to the text of the Amended Complaint, is an

admission that the Amended Complaint contains no allegations that any actual claim submitted

by any of the 25 new Plaintiffs was underpaid.

                                              CONCLUSION

          For the foregoing reasons, BCBSTX respectfully requests that the Court dismiss Counts I–

V in Plaintiffs’ First Amended Complaint with prejudice. BCBSTX further respectfully requests

such further relief to which it may be justly entitled.




DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                      Page 22
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 28 of 29 PageID #: 833




Dated: December 21, 2020

                                   Respectfully Submitted,

                                BY: /s/ Paige Holden Montgomery
                                  Paige Holden Montgomery
                                  Texas Bar No. 24037131
                                  pmontgomery@sidley.com
                                  Natali Wyson
                                  Texas Bar No. 24088689
                                  nwyson@sidley.com
                                  Claire Homsher
                                  Texas Bar No. 24105899
                                  chomsher@sidley.com
                                  Mehzabin Lora Chowdhury
                                  Texas Bar No. 24105600
                                  lchowdhury@sidley.com
                                  SIDLEY AUSTIN LLP
                                  2021 McKinney Avenue, Suite 2000
                                  Dallas, TX 75201
                                  (214) 981-3300
                                  (214) 981-3400 (facsimile)

                                   Brian P. Kavanaugh
                                   Texas Bar No. 24115132
                                   bkavanaugh@sidley.com
                                   SIDLEY AUSTIN LLP
                                   One South Dearborn
                                   Chicago, Illinois 60603
                                   (312) 853-7000
                                   (312) 853-7036 (facsimile)


                                   Robert W. Weber
                                   Texas State Bar No. 21044800
                                   SMITH WEBER, L.L.P.
                                   5505 Plaza Drive
                                   Texarkana, TX 75503
                                   TEL: 903-223-5656
                                   FAX: 903-223-5652
                                   E-mail: bweber@smithweber.com

                                   COUNSEL FOR DEFENDANT BLUE CROSS
                                   BLUE SHIELD OF TEXAS, A DIVISION OF
                                   HEALTH CARE SERVICE CORPORATION, A
                                   MUTUAL LEGAL RESERVE COMPANY


DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ ORIGINAL COMPLAINT          31
ACTIVE 263439070v 15
Case 5:20-cv-00041-RWS Document 66 Filed 12/21/20 Page 29 of 29 PageID #: 834




                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on all counsel of record in accordance with the Federal Rules of Civil Procedure

and this Court’s CM/ECF filing system on December 21, 2020.


                                                     /s/ Paige Holden Montgomery
                                                     Paige Holden Montgomery




ACTIVE 263439070v 15
